                  United States District Court
                            CRIMINAL MINUTES - TRIAL
Case No.: 5:24cr11-MW                                Date: August 26-28, 2024



PROCEEDINGS: Jury Voir Dire; Jury Selection; Jury Trial; Jury Verdict: Defendant found not
guilty as to Counts 1 & 2 of the Indictment. Jury Polled; Judgment to follow.

PRESENT: MARK E. WALKER, CHIEF U.S. DISTRICT JUDGE

       Victoria Milton McGee        Megan Hague            David Goldberg
            Deputy Clerk            Court Reporter        Asst. U.S. Attorney

       Daniel Crecelius, FBI
           Case Agent


U.S.A v. (DEFENDANT LISTED BELOW)                    ATTORNEY FOR DEFENDANT

(1) DEAN PADGETT                                     Elizabeth Vallejo & Juan Rodriguez
☒ present ☐ custody ☒ O/R                            ☒ present ☒ apptd. ☐ retained


See separate list for exhibits
☐      Case continued to
☐      Motion for Judgment of Acquittal ☐ Granted ☐ Denied
☒      Jury Retires to deliberate at 11:12 a.m. on 8/28/2024. Jury returns at 3:21 p.m. on
       8/28/2024.
☐      Ordered Jury to be taken to                    ; ☐ Be lodged for night.
☐      FINDINGS BY COURT
☒      JURY VERDICT. See signed verdict as to defendant.
       ☒ Jury polled           ☐ Polling waived      ☐ Mistrial declared
☐      Continued to               for ☐ Setting ☐ Trial ☐ Further trial
☐      Referred to Probation Officer for I/R and continued to                for Sentencing
☐      Ordered defendant
       ☐ Be taken into custody         ☐ Remain in custody
       ☐ Remain on present Bond
☐      Probation report waived as to defendant



                                                                  Initials of Deputy Clerk VMM
                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                                    TRIAL MINUTES
CHIEF JUDGE MARK E. WALKER
Victoria Milton McGee, courtroom deputy
Megan Hague, court reporter

Case:         5:24cr11-MW
Legend:       Govt - David Goldberg (Goldberg)
              Deft - Elizabeth Vallejo (Vallejo) & Juan Rodriguez (Rodriguez)

Jury Trial – Day 1
DATE: August 26, 2024

8:15   Court in session
       Attorney conference begins
8:32   Court in recess

8:42   Court in session
       Attorney conference continues
8:45   Attorney conference ends
       Court in recess

9:25  Court in session
      Voir dire begins
10:56 Court in recess

11:00 Court in session
      Voir dire continues
11:24 Voir dire ends
11:25 Court in recess

11:32 Court in session
      Jury selection begins
11:56 Jurors in
11:59 Jury announced and remaining jurors dismissed with the thanks of the Court
12:01 Jury sworn
      Court addresses Jury
12:09 Jury out
      Court addresses parties
12:12 Rule invoked
12:14 Court in recess

1:34   Court in session
       Court addresses the parties
              Court Exhibit 1 – marked, ID (Vallejo)
1:36   Court in recess

1:39   Court in session
1:40   Jury in
       Court addresses jury
1:41   Jury given preliminary instructions
2:00   Opening statement by the Government (Goldberg)
2:02   Opening statement by Defense (Vallejo)
              Court Exhibit 1
2:18   Jury out
       Court addresses parties
2:19   Court in recess

2:33   Court in session
2:34   Jury in
       Government witness: Louis Cordova – sworn, direct (Goldberg)
               Government Exhibits 1A-1D, 2, 3A-3E & 4A-4G – marked, ID, admitted
2:59   Sidebar
3:06   Direct examination continues (Goldberg)
               Government Exhibit 5 – marked, ID, admitted (as redacted)
3:10   Cross examination (Vallejo)
               Government Exhibits 1D, 4A & 3E (previously admitted)
3:21   Redirect (Goldberg)
3:22   Government witness: Vilton Jean Baptist – sworn, direct (Goldberg)
3:29   Cross examination (Rodriguez)
3:38   Redirect (Goldberg)
3:39   Jury out
       Court addresses parties
3:48   Court in recess

4:05   Court in session
4:06   Jury in
4:07   Government witness: William Scott Payne – sworn, direct (Goldberg)
4:12   Cross examination (Vallejo)
4:22   Redirect (Goldberg)
4:23   Government witness: Rhonda Young – sworn, direct (Goldberg)
               Government Exhibit 6 – marked, ID, admitted
4:32   Cross examination (Vallejo)
               Government Exhibit 6 (previously admitted)
4:37   Redirect (Goldberg)
4:38   Government witness: Tanya Cater – sworn, direct (Goldberg)
               Government Exhibits 1D, 3A & 3B (previously admitted)
4:52   Cross examination (Vallejo)
               Government Exhibits 3A & 3B (previously admitted)
5:11   Sidebar
       Redirect (Goldberg)
5:12   Sidebar
5:13   Redirect (Goldberg)
               Government Exhibits 3B & 3E (previously admitted)
5:18   Jury out
       Court addresses parties
5:23   Parties discuss witnesses and schedule
5:24   Parties discuss jury instructions
5:30   Court in recess


Jury Trial – Day 2
DATE: August 27, 2024
8:17   Court in session
       Parties discuss witnesses and redacted indictment
8:21   Court in recess
8:31    Court in session
8:33    Jury in
8:34    Government witness: Ricky Mazingo – sworn, direct (Goldberg)
8:51    Sidebar
8:53    Court addresses jury
8:54    Cross examination (Rodriguez)
                Government Exhibits 2, 3A, 3B & 3E (previously admitted)
9:17    Redirect (Goldberg)
                Government Exhibits 3E & 2 (previously admitted)
9:19    Government witness: Marsha West – sworn, direct (Goldberg)
                Government Exhibits 1D & 3E (previously admitted)
9:34    Cross examination (Vallejo)
                Government Exhibit 3E (previously admitted)
9:51    Redirect (Goldberg)
                Government Exhibit 8 – marked, ID, admitted
9:58    Sidebar
9:59    Court addresses jury
10:00   Re-cross examination (Vallejo)
                Government Exhibit 8 (previously admitted)
10:02   Second redirect (Goldberg)
                Government Exhibit 8 (previously admitted)
10:04   Jury out
10:05   Court in recess

10:19   Court in session
10:23   Jury in
10:24   Government witness: Terri Knowles – sworn, direct (Goldberg)
10:33   Cross examination (Vallejo)
10:40   Redirect (Goldberg)
10:41   Government witness: Daniel Crecelius – sworn, direct (Goldberg)
10:47   Sidebar
10:54   Court addresses jury
10:55   Jury out
10:56   Court in recess
11:16   Court in session
        Court addresses parties
11:27   Parties discuss schedule
11:31   Jury in
        Court addresses jury
11:32   Jury out
11:33   Court addresses parties
11:35   Court in recess

12:47   Court in session
12:48   Jury in
12:49   Court addresses jury
12:50   Court instructs jury
12:52   Direct examination continues (Goldberg)
                Government Exhibits 7A-7D - marked, ID, admitted
1:24    Cross examination (Vallejo)
1:26    Redirect (Goldberg)
        Government rests (Goldberg)
1:27    Jury out
        Court addresses parties
1:28    Parties discuss witnesses
1:29    Court in recess
1:42   Court in session
1:43   Jury in
       Court addresses jury
1:44   Defense witness: Kassandra Perez – sworn, direct (Vallejo)
               Defendant’s Exhibits 1A-1Z & 2 – marked, ID, admitted
2:04   Cross examination (Goldberg)
               Defendant’s Exhibit 1Z (previously admitted)
2:05   Defense witness: Jeffrey Himebaugh – sworn, direct (Vallejo)
               Defendant’s Exhibits 1Y, 1A & 1B (previously admitted)
2:16   Cross examination (Goldberg)
               Defendant’s Exhibits 1B, 1Z & 1A (previously admitted)
2:23   Redirect (Vallejo)
2:26   Defense witness: William Johnson – sworn, direct (Vallejo)
               Defendant’s Exhibits 1A & 1B (previously admitted)
2:39   Cross examination (Goldberg)
2:42   Redirect (Vallejo)
2:46   Defense witness: Derrick Wester – sworn, direct (Vallejo)
2:54   Cross examination (Goldberg)
3:00   Redirect (Vallejo)
3:04   Jury out
3:05   Parties discuss witnesses and schedule
3:07   Court in recess

3:19   Court in session
3:21   Jury in
3:22   Defense witness: Brittany Brown – sworn, direct (Vallejo)
3:29   Cross examination (Goldberg)
3:30   Sidebar
3:31   Court addresses jury
3:35   Jury out
3:36   Defendant sworn
       Court addresses Defendant re: testifying
3:48   Defendant informs Court he intends to testify (Padgett)
3:49   Court in recess

4:02   Court in session
       Charging conference begins
4:33   Court in recess

4:55   Court in session
       Charging conference continues
5:13   Court in recess

5:30   Court in session
       Charging conference continues
5:36   Charging conference ends
       Court in recess


Jury Trial – Day 3
DATE: August 28, 2024

8:15   Court in session
       Parties discuss housekeeping matters and schedule
8:17   Court in recess
8:36    Court in session
8:38    Jury in
        Defense witness: Dean Padgett – sworn, direct (Vallejo)
8:47    Sidebar
8:49    Direct examination continues (Vallejo)
                Defendant’s Exhibit 1A (previously admitted)
                Government Exhibit 4G (previously admitted)
                Defendant’s Exhibit 3 – marked, ID, admitted
9:02    Cross examination (Goldberg)
                Government Exhibits 7D & 4F (previously admitted)
9:11    Redirect (Vallejo)
9:12    Defense rests (Vallejo)
        Government rests (Goldberg)
9:14    Jury out
        Parties discuss housekeeping matters
9:21    Court in recess

9:39    Court in session
9:40    Defendant’s Exhibit 4 – marked, ID, admitted (Vallejo)
9:44    Jury in
9:45    Court reads jury instructions
10:04   Closing argument by Government (Goldberg)
                Government Exhibits 1C & 4E (previously admitted)
10:13   Closing argument by Defense (Vallejo)
                Government Exhibits 4E & 4F (previously admitted)
                Defendant’s Exhibits 1A, 4 & 1D (previously admitted)
10:51   Sidebar
10:53   Rebuttal (Goldberg)
                Defendant’s Exhibit 1H (previously admitted)
11:09   Court addresses jury
11:11   Court dismisses alternate juror
11:12   Jury retires to deliberate
11:14   Defense motion for mistrial (Vallejo)
11:15   Government responds (Goldberg)
11:16   Court denies motion
11:17   Court in recess

11:20 Court in session
      Parties review exhibits
11:23 Clerk delivers exhibits to jury
      Court addresses parties
11:26 Court in recess

3:20    Court in session
3:21    Jury in
3:22    Jury verdict: Defendant not guilty as to Counts 1 & 2.
3:25    Jury excused
        Court in recess

3:40    Court in session
        Court addresses parties. Judgment to follow.
3:44    Court adjourned
